                             United States District Court
                           Western District of North Carolina
                                  Asheville Division

 CHRISTOPHER ANTHONY JUDD,             )             JUDGMENT IN CASE
                                       )
              Plaintiff,               )               1:22-cv-00070-MR
                                       )
                 vs.                   )
                                       )
 QUENTIN MILLER, et al.,               )
                                       )
             Defendants.               )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 24, 2022 Order.

                                               June 24, 2022




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